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EXHIBIT 6
(File Under Seal)

 

 
 

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UNITED STATES DISTRICT COURT . eth
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FU Ft\

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VIRGINIA L. GUIFFRE,

 

 

Plaintiff,
15 Civ. 7433 (RWS)

~ against -
OPINION

GHISLAINE MAXWELL,

Defendant.

APPEARANCE 5S:

Counsel for Plaintiffs

BOEIS, SCHILLER & FLEXNER LBP
401 East Las Olas Boulevard, Suite 1200
Fort Lauderdale, FL 33301
By: Sigrid $8. McCawley, Esq.
Meredith L. Schultz, Esq.

Counsel for Defendants

HADDON, MORGAN AND FOREMAN, P.C.

150 Bast Tenth Avenue

Denver, CO 80203

By: Laura A. Menninger, Esq.
Jeffrey S. Pagliuca, Esq.
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Sweet, D.J.

Eight discovery motions are currently pending before this

court.

1. Plaintiff Virginia Giuffre (“Giuffre” or “Plaintiff”) has
moved for an order of forensic examination, ECF No. 96. As
set forth below, this motion is granted in part and denied
in part.

2. Defendant Ghislaine Maxwell (“Maxwell”) or (“Defendant”)

has moved to compel Plaintiff to disclose alleged on-going

 

criminal investigations by law enforcement, ECF No. 101. As
set for below, this motion is denied.

3. Plaintiff has moved to compel Defendant to answer
deposition questions, ECF No. 143. This motion is granted.
4. Defendant has moved to compel non-privileged documents, ECF

No. 155. As set forth below, this motion is denied.

5. Plaintiff has moved for leave to serve three deposition
subpoenas by means other than personal service, ECF No.
160. As set forth below, this motion is granted in part and
denied in part.

6. Defendant has moved to compel attorney-client
communications and work product, ECF No. 164. As set forth

below, this motion denied.

 

 
 

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7. Plaintiff has moved to exceed the presumptive ten
deposition limit, ECF No, 172. As set forth below, this
motion is granted in part and denied in part.

8. Plaintiff has moved for leave to file an opposition brief
in excess of the 25 pages permitted under this Court’s

Individual Rules of Practice. This motion is granted.

I. Prior Proceedings

Familiarity with the prior proceedings and facts of this
case as discussed in the Court’s prior opinions is assumed. See
Giuffire v. Maxwell, No. 15 Civ. 7433 (RWS), 2016 WL 831949
(S.D.N.Y. Feb. 29, 2016); Giuffre v. Maxwell, No. 15 Civ. 7433

(RWS) (S.D.N.Y. May 2, 2016).

Plaintiff filed her motion for clarification of the Court’s
March 17, 2016 Order and for forensic examination on April 13,
2016. By Order dated April 15, 2016, the motion for
clarification was denied on the basis that further clarification
was unnecessary. Oral argument was held with respect to forensic

examination on May 12, 2016, at which time the matter was deemed

fully submitted.

 
 

 

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Defendant filed her motion to compel Plaintiff to disclose
ongoing criminal investigations by law enforcement, or in the
alternative to stay proceedings, on April 18, 2016. Oral
argument was heard and the motion granted in part and denied in
part on April 21, 2016. Plaintiff was directed to submit the
relevant materials for in camera review. Plaintiff did so on

April 28, 2016.

Plaintiff filed her motion to compel Defendant to answer
deposition questions on May 3, 2016. Oral argument was held on
May 12, 2016, at which time the matter was deemed fully

submitted.

Defendant filed her motion to compel non-privileged
documents on May 20, 2016. By Order dated May 23, 2016, the
motion was set for argument on June 2, 2016. The motion was

taken on submission on that date. Defendant filed a reply on

June 6, 2016.

Plaintiff£ filed her letter motion for leave to serve three
depositions subpoenas by means other than personal service. By
Order dated May 27, 2016, the motion was set for argument on

June 2, 2016. The motion was taken on submission on that date.
 

 

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Defendant filed her motion to compel attorney-client
communications and work product on May 26, 2016. By Order dated
May 27, 2016, the motion was set for argument on June 2, 2016.
The motion was taken on submission on that date. Defendant filed

a reply on June 6, 2016

Plaintiff filed her motion to exceed the presumptive ten
deposition limit on May 27, 2016. By Order dated June 6, 2016,
the motion was set returnable on June 16, 2016, at which time

the motion was deemed fully submitted.

Plaintiff filed her motion for leave to file excess pages

on June 1, 2016.

II. Applicable Standards

Rule 26 “create[s] many options for the district judge
[to] manage the discovery process to facilitate prompt and
efficient resolution of the lawsuit.” Crawford-El v. Britton,
523 U.S. 574, 599, 118 S. Ct. 1584, 1597, 140 L. Ed. 2d 759
(1998). It “vests the trial judge with broad discretion to
tailor discovery narrowly and to dictate the sequence of

discovery.” Crawford-El v. Britton, 523 U.S. 574, 598, 118 S.
 

 

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Ct. 1584, 1597, 140 L. Ed. 2d 759 (1998). The District Court may
expand or limit the permitted number and time limits of
depositions, direct “the time, place, and manner of discovery,
or even bar discovery on certain subjects,” and may “set the

timing and sequence of discovery.” Id. at 598-99; Fed. R. Civ.

P. 26(b) (2) (A).

Consequently, the Court has wide discretion in deciding
motions to compel. See Grand Cent. P'ship. Inc. v. Cuomo, 166

F.3d 473, 488 (2d Cir.1999). Federal Rule of Civil Procedure 26

states:

Parties may obtain discovery regarding any nonprivileged
Matter that is relevant to any party's claim or defense-
including the existence, description, nature, custody,
condition, and location of any documents or other tangible
things and the identity and location of persons who know of
any discoverable matter. For good cause, the court may
order discovery of any matter relevant to the subject
Matter involved in the action.

Fed. R. Civ. P. 26. If a party objects to discovery requests,

that party bears the burden of showing why discovery should be

denied. Freydl v. Meringolo, 09 Civ. 07196(BSJ) (KNF), 2011 WL

 

256608-7, at *3 (S.D.N.Y. June 16, 2011).
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III. The Motion For an Order of Forensic Examination Is Granted

in Part and Denied in Part

Federal Rule of Civil Procedure 26({f) (3) {C) requires the
parties to state their views and proposals as to preservation of
electronically stored information (“ESI”) and the form of
production of ESI. Fed. R. Civ. P. 26(£)(3)(C). Defendant having
admitted to deletion practices that indicate relevant documents
and also refused to detail document search methods, good cause
exists to warrant court supervised examination of her electronic

devices. Accordingly, Plaintiff’s motion is granted in part.

Defendant is ordered to collect all ESI by imaging her
computers and collecting all email and text messages on any
devices in Defendant’s possession or to which she has access
that Defendant used between the period of 2002 to present.
Defendant is further directed to run mutually-agreed upon search
terms related to Plaintiff’s requests for production over the
aforementioned ESI and produce responsive documents within 21

days of distribution of this opinion.

 

 
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IV. The Motion to Compel Plaintiff to Disclose Ongoing Criminal

Investigations is Denied

The public interest privilege “exists to encourage
witnesses to come forward and provide information in criminal
investigations carried cut by .. . flaw enforcement] without
fear that the information will be disclosed.” Sanchez by Sanchez

v. City of New York, 201 A.D.2d 325, 326, 607 N.Y.S.2d 321

 

(1994). A party seeking disclosure of such information “first
must demonstrate a compelling and particularized need for
access” beyond “[g]Jeneral and conclusory allegations.” Id. The
Court then weighs application of the qualified privilege by
balancing the need for production against the potential harm to

the public from disclosure. Id.

After review of the materials in camera, the qualified
public interest privilege as set forth in Sanchez has been
established with respect to the submitted documents. Defendant
has articulated no need for the documents. Accordingly, the
balance weighs in favor of the privilege, and the motion to
compel is denied. To preserve the record, Plaintiff is directed
to file under seal a comprehensive copy of the log and documents

within 21 days of distribution of this opinion.

 

 
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VI. The Motion to Compel Non-Privileged Documents is Granted in

Part and Denied in Part

Defendant has sought to compel the following documents: (1)}
attorney-client communications regarding media advice; (2) pre-
existing documents transmitted to counsel; (3) documents shared
with or communicated to unidentified third parties; (4)
documents primarily for the purpose of providing business
advice; (5) documents subject to an unidentified common interest

or joint defense protection.

Plaintiff has represented that all responsive “attachments”

Defendant seeks to compel have been produced. Accordingly, this

request is denied.

Defendant seeks to compel attorney-client communications
that include “third parties” on the basis that Plaintiff's
privilege log is deficient for identifying individuals as
“professionals retained by attorneys to aid in the rendition of
legal advice.” A review of Plaintiff's privilege log shows
Plaintiff has expressly claimed privilege, described the nature
of the withheld documents, communications, and tangible things
not produced, and generally logged communications in compliance

with Federal Rule of Civil Procedure 26(b) (5} {A} {ii). “Unless

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the client waives privilege, an attorney or his or her employee,
or any person who obtains without the knowledge of the client
evidence of a confidential communication made between the
attorney or his or her employee and the client in the course of
professional employment, shall not disclose, or be allowed to
disclose such communication, nor shall the client be compelled
to disclose such communication.” N.Y. C.P.L.R. 4503 (McKinney)
(emphasis added). The conduct explicitly described by statute as
privileged does not operate as waiver, and again Defendant has
provided no factual basis to suggest Plaintiff has
misrepresented the identity or role of the third-parties listed.

Defendant's request is denied.

Defendant’s challenge to the common interest privilege
claims is likewise unavailing. Regardless of whether Plaintiff
has reflexively claimed the common interest privilege in each
entry does not vitiate the otherwise applicable privilege claims
made, and Defendant has provided no factual foundation to

establish waiver or failure of the other claimed privileges.

Finally, with respect to the media and business advice
communications, Defendant has marshaled no evidence to support
her speculation that the documents logged as privileged are

improperly withheld other than the fact that one member of

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Plaintiff's legal team is an author. Plaintiff has represented
to the Court and via a detailed privilege log that the
communications in question are privileged. Stan Pottinger, the
author in question, is a barred attorney of record in this case,
incomparable to Defendant’s media agent (and non-attorney) Ross
Gow. That Pottinger has written non-legal material, or even
whether his “primary occupation in the most recent years [is] as
a novelist,” is irrelevant to whether his communication with
Plaintiff as her counsel was for the purpose of providing legal
advice. Similarly, Bradley Edwards, who Defendant has already
challenged, is an attorney of record in this case, and Defendant
has provided no evidence other than the fact of his
representation of Plaintiff's non-profit to deubt that the

communications logged are privileged.

Having provided no grounds to doubt the sworn
representations of Plaintiff's counsel, Defendant’s motion to
compel these communications is denied. Defendant is granted
leave to refile the motions with respect to media and business
advice on the basis of relevant and non-specious factual
support. Court intervention should not be invoked to resolve
routine discovery matters on the basis of a supposition of bad
faith. Further filing of frivolous or vexatious motions lacking

sufficient factual support to support a colorable argument (or

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on the basis of misrepresented or false facts or law} will be

met with sanctions.

VII. The Moticn for Leave to Serve Three Deposition Subpoenas By

Means Other than Personal Service is Granted in Part and Denied

in Part

Plaintiff seeks to compel subpcenas to serve Nadia
Marcinkova, Sarah Kellen, and Jeffrey Epstein. The request is
denied with respect to Epstein as moot. No opposition having
been filed and the testimony of Marcinkova and Kellen being
relevant to falsity of the defamation at issue, the motion is

granted with respect to Marcinkova and Kellen.

VIII. The Motion to Compel Attorney-Client Communications

and Work Product is Denied

Defendant argues that “Edwards and Cassell preemptively
filed an action against Dershowitz proclaiming they did not
viclate Rule ll .. . fand iJn doing so, they voluntarily put at
issue and relied on: a) their good faith reliance on information

communicated to them by Plaintiff, and 6b) their work product

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showing that their filing was reasonably investigated and
substantially justified.” Def.’s Reply in Supp. Mot. to Compel
all Att’ y-Client Comms. and Att’y Work Product at 8-9 (Def.’s
Reply on AC”). The Broward County, Florida Court ruled on this
argument in Edwards and Cassell v. Dershowitz and Defendant
argues in reply that this order is non-binding, and was issued

prior to Plaintiff's testimony. Id. at l.

Defendant was not a party to the Florida case.
Nevertheless, Defendant’s argument is nearly identical to
Dershowitz’s. Defendant argues Plaintiff’s testimony arose after
the ruling in the Florida case, however, the principle of that
argument is the same: Defendant placed her attorney-client
communications with Edwards and Cassell at issue by relying on
the content of those communications in Edwards and Cassell v.
Dershowitz. The Florida Court’s ruling is therefore highly
relevant privilege has not been waived.? The motion is

accordingly denied.

 

2 The Court declines to address the choice of law issue, as
application of Florida or New York at-issue doctrines are not
outcome determinative in this instance and thus no determination
is necessary. Compare Coates v. Akerman, Senterfitt & Eidson,
P.A., 940 So. 2d 504, 510 (Fla. Dist. Ct. App. 2006) (“for
waiver to occur under the at issue doctrine, the proponent of a
privilege must make a claim or raise a defense based upon the
privileged matter and the proponent must necessarily use the
privileged information in order to establish its claim or
defense.”) with Chin v. Rogoff & Co., P.C., No. 05 CIV.

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x. The Motion for Leave to File Excess Pages is Granted

Plaintiff sought leave to file excess pages in response to
Defendant’s motion to compel attorney-client communications and

work product. To the extent the motion is not moot, leave is

granted.

XI. Conclusion

As set forth above: the motion for an order of forensic
examination is granted in part and denied in part; the motion to
compel to compel Plaintiff to disclose aileged on-going criminal
investigations by law enforcement is denied; the motion to
compel Defendant to answer deposition questions is granted; the
motion to compel non-privileged documents is denied; the motion
for leave to serve three deposition subpoenas by means other
than personal service is granted in part and denied in part; the
motion to compel attorney-client communications and work product
is denied; the motion to exceed the presumptive ten deposition
limit is granted; the motion for leave to file an opposition
brief in excess of the 25 pages permitted under this Court’s
Individual Rules of Practice is granted. This opinion resolves

ECF Nos. 96, 101, 143, 155, 160, 164, 172, and 182.

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For purposes of managing the filings in this case, the
parties are further directed to comply with the Court’s
Individual Rules of Practice by providing all future motion
papers in their full non-redacted form, complete with related
declarations and exhibits, in a single complete bound hard copy
delivered to Chambers at the time of filing. All soft-copies
must be provided by attachment of a single PDF in its full non-
redacted form, including all related declarations and exhibits
irrespective of whether each attachment or declaration is
intended to be filed under seal. Soft-copies must be provided in

addition to, not in lieu of, hard-copies.

This matter being subject to a Protective Order, the parties
are directed to meet and confer regarding redactions to this
Opinion consistent with that Order. The parties are further
directed to jointly file a proposed redacted version of this
Opinion or notify the Court that none are necessary within two

weeks of the date of receipt of this Opinion.

It is so ordered.

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